       Case 8:06-cr-00131-DKC          Document 683        Filed 09/25/12      Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
TERRY GILLIAM BARBA,                             *
                                                 *
       Petitioner                                *
                                                 *         Civil Case No.: RWT 09-cv-1718
v.                                               *
                                                 *         Criminal Case No.: RWT 06-cr-131-3
                                                 *
UNITED STATES OF AMERICA,                        *
                                                 *
        Respondent.                              *
                                                 *

                                 MEMORANDUM OPINION

        Pending before the Court is Terry Gilliam Barba’s petition under 28 U.S.C. § 2255 to

correct his sentence. Petitioner contends that he was denied his Sixth Amendment right to

effective assistance of counsel. Because Petitioner has not shown that counsel’s representation

was objectively unreasonable and resulted in actual prejudice, the Court will deny the § 2255

petition.

                                        BACKGROUND

        On November 1, 2007, Petitioner pled guilty to conspiracy to distribute and possess with

intent to distribute 500 grams of cocaine base, commonly known as crack, in violation of 21

U.S.C. § 846 (Count One of Superseding Indictment). Case No. 06-cr-00131-3, ECF No. 462.

As part of his guilty plea, he also admitted that at least 3.5 kilograms of cocaine, but less than 5

kilograms, were reasonably foreseeable to him through his involvement in the larger trafficking

conspiracy. Plea Agreement in United States v. Barba, RWT-06-cr-0131-3, at 8 (Oct. 25, 2007);

Tr. of Rule 11 Hr’g 32-34, ECF No. 462.

        On February 6, 2008, Petitioner was sentenced to 240 months in prison for his role in the

conspiracy after the Court determined that he was a career offender. Case No. 06-cr-00131-3,

                                                 1
       Case 8:06-cr-00131-DKC          Document 683        Filed 09/25/12     Page 2 of 6



ECF No. 442. Petitioner previously had been sentenced to 63 months in prison by the United

States District Court for the District of New Jersey on September 12, 1997, for the distribution of

controlled dangerous substances. On September 26, 1997, he had also been sentenced to 15

years in prison by the Superior Court of New Jersey, Essex County, for manslaughter. U.S.

Probation and Pretrial Services Memorandum, February 6, 2008.

                                  PROCEDURAL HISTORY

       On June 29, 2009, Petitioner filed a motion entitled “Motion requesting to modify an

imposed term of imprisonment pursuant to 18 U.S.C. § 3582(C)(1)(B) predicated upon another

modifying statute (28 U.S.C. § 2255).” Case No. 06-cr-00131-3, ECF No. 553 (hereinafter Pet’r

First Mot.). On July 24, 2009, Petitioner filed a supplemental and clarifying § 2255 petition

alleging ineffective assistance of counsel. Case No. 06-cr-00131-3, ECF No. 556 (hereinafter

Pet’r Second Mot.). The Government filed an opposition to Pet’r Second Mot., as directed by

the Court, on May 6, 2012. Case No. 06-cr-00131, ECF No. 600. On July 25, 2010, Petitioner

filed a reply. Case No. 06-cr-00131-3, ECF No. 608 (hereinafter Pet’r Reply).

                                  STANDARD OF REVIEW

       In evaluating claims of ineffective assistance of counsel, the Court applies the two prong

test set forth in Strickland v. Washington, 466 U.S. 668, 687 (1984). First, Petitioner must show

that counsel’s representation fell “below an objective standard of reasonableness.” Strickland,

466 U.S. at 688.      In reviewing counsel’s performance, “a court must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. at 689. Second, Petitioner must show that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the proceeding would have been different,”

where a “reasonable probability is a probability sufficient to undermine confidence in the

outcome.” Id. at 694. If Petitioner fails to meet his “burden of proving the first prong under the

                                                2
       Case 8:06-cr-00131-DKC           Document 683        Filed 09/25/12      Page 3 of 6



Strickland test . . . a reviewing court does not need to consider the second prong.” Fields v.

Attorney General, 956 F.2d 1290, 1297 (4th Cir. 1992).

                                            ANALYSIS

       In his § 2255 petition, Petitioner alleges two grounds for his ineffective assistance of

counsel claim: 1) trial counsel’s failure to make a proper reasonable foreseeability determination

regarding the amount of cocaine attributable to Petitioner as part of the conspiracy; and 2) trial

counsel’s failure to object to Petitioner’s classification as a career offender. Pet’r Second Mot. 6.

The Court will address each of these arguments in turn.

I.     Reasonable Foreseeability Determination

       Petitioner first alleges that his counsel was ineffective for failing to “make a proper

reasonable foreseeability determination during his plea.” Id.

       A “reasonable foreseeability determination” evaluates an individual conspirator’s

knowledge of the conspiracy’s scope for the purposes of sentencing. Each conspirator is liable

not only for his own actions, but also for the criminal acts of his co-conspirators that are “done in

furtherance of the conspiracy” and are “reasonably foreseen as a necessary or natural

consequence” of the conspiracy. Pinkerton v. United States, 328 U.S. 640, 647-48 (1946);

United States v. Irvin, 2 F.3d 72, 75 (4th Cir. 1993). A district court conducts a reasonable

foreseeability determination following a trial that results in a guilty verdict for an individual

conspirator. Irvin, 2 F.3d at 75. The court determines the amount of drugs reasonably foreseen

to the defendant, based on his role in the conspiracy, in order to properly apply the sentencing

guidelines.

       Petitioner’s first contention is without merit, as no reasonable foreseeability

determination was necessary in this case. Petitioner was not found guilty after a trial, but rather

pled guilty and stipulated to the amount of cocaine reasonably foreseeable to him in light of his
                                                 3
       Case 8:06-cr-00131-DKC          Document 683         Filed 09/25/12      Page 4 of 6



role in the drug trafficking conspiracy. Petitioner admitted, both on record before the Court and

in his signed plea agreement, that he participated in a drug conspiracy that he could reasonably

foresee would involve the trafficking of between 3.5 and 5 kilograms of cocaine. See Tr. of

Rule 11 Hr’g 32-34; Plea Agreement at 8. By no means was it the duty of Petitioner’s counsel to

ask for or to conduct a reasonable foreseeability determination. There also is no need to

determine whether Petitioner was prejudiced by his counsel’s actions, or lack thereof, as

Petitioner has failed to demonstrate that his counsel was ineffective in any way.

II.    Classification as Career Offender

       Petitioner also alleges that his counsel was ineffective for failing to object to Petitioner’s

classification as a career offender, a label which resulted in a heightened sentence for Petitioner

under the United States Sentencing Guidelines, U.S.S.G. § 4B1.1. Pet’r Mot. 6.

       Section 4B1.1(a) of Guidelines provides that:

       “(a) A defendant is a career offender if (1) the defendant was at least eighteen years old at
       the time the defendant committed the instance offense of conviction; (2) the instant
       offense of conviction is a felony that is either a crime of violence or a controlled
       substance offense; and (3) the defendant has at least two prior felony convictions of either
       a crime of violence or a controlled substance offense.”

       The Guidelines further provide in § 4B1.1(b) that career offenders be assigned an

enhanced criminal history category (Category VI) and receive an upward adjustment in their

offense level, thereby guaranteeing greater sentences for such individuals.

       In 1997, Petitioner was convicted of two separate and unrelated offenses, manslaughter

and distribution of a controlled substance. Petitioner contends that these two prior convictions

should have been counted as a single violation, as his sentences for those offenses ran partially

concurrently, and thus he does not qualify as a career defender subject to a heightened sentence.

See Pet’r First Motion 5. Petitioner’s claim is mistaken, as his two prior convictions are entirely



                                                 4
       Case 8:06-cr-00131-DKC          Document 683        Filed 09/25/12     Page 5 of 6



separate. The mere imposition of concurrent sentences does not result in two convictions being

counted as one. See United States v Flores, 875. F.2d 1110, 1114 (5th Cir. 1989); United States

v. Rivers, 929 F.2d 136, 138 (4th Cir. 1991). The Guidelines instruct that prior sentences should

be counted separately when computing a defendant’s criminal history, unless they resulted “from

offenses contained in the same charging instrument” or “were imposed on the same day.”

U.S.S.G. § 4A1.2. This exception is not applicable here, as Petitioner’s prior convictions arose

from different charging instruments and his sentences were imposed on different days by

different courts. Defense counsel therefore had no obligation to object to the Court’s proper

evaluation of Petitioner’s criminal history and career offender status. Moreover, had Petitioner’s

counsel lodged any such objection, it would have been rejected, thus negating any prejudice that

Petitioner claims to have suffered from his counsel’s conduct.

       Petitioner further claims that his manslaughter conviction does not count toward his

career offender status because it is not a crime of violence, and that his counsel failed to

challenge the use of that conviction as a qualifying offense. Pet’r Reply 9. The Commentary to

U.S.S.G. § 4B1.2 lists a number of offenses that fall into the “crime of violence” category;

manslaughter is included among those enumerated crimes. Petitioner’s counsel thus did not

render ineffective assistance by not challenging the classification of the manslaughter conviction,

nor was Petitioner prejudiced in this regard.

       In light of these facts, Petitioner cannot prevail on his second ground for alleging

ineffective assistance of counsel.

III.   Conclusion

       Petitioner has not demonstrated that his counsel was ineffective and that, but for

counsel’s alleged errors, he would not been labeled a career offender and would have received a



                                                5
      Case 8:06-cr-00131-DKC          Document 683        Filed 09/25/12     Page 6 of 6



lower sentence. It is not necessary to hold an evidentiary hearing on Petitioner’s motion, as the

parties’ filings and the record of the case conclusively show that Petitioner is not entitled to

relief. Accordingly, the Court shall deny Petitioner’s § 2255 Motion (Case No. 06-cr-00131,

ECF No. 556).

       A separate Order follows.



Date: September 24, 2012                                          /s/
                                                             ROGER W. TITUS
                                                      UNITED STATES DISTRICT JUDGE




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